Case: 6:16-cr-00021-DCR-CJS           Doc #: 130 Filed: 12/09/16          Page: 1 of 26 - Page
                                          ID#: 859



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                       )
                                                 )
        Plaintiff,                               )
                                                 )          No. 6:16-CR-21-ART-HAI-2
 v.                                              )
                                                 )      REPORT & RECOMMENDATION
 MAURICE SYDNOR,                                 )
                                                 )
        Defendant.                               )


                                      *** *** *** ***


       Defendant Maurice Sydnor has moved to suppress two statements he made to law

enforcement officers during the execution of a state search warrant at his residence. D.E. 65. He

also challenges three photo identifications made by witnesses. Id.; D.E. 114 at 18. The Court

conducted an evidentiary hearing on October 3, 2016, during which Kentucky State Police

Detective Jason Browning, ATF Special Agent Todd Tremaine, and Kentucky State Police

Detective Larry Walker testified. D.E. 78, 80. Sydnor filed a post-hearing memorandum (D.E.

114), the government responded (D.E. 119), and Sydnor replied (D.E. 121).

       Sydnor argues that he was impermissibly arrested without probable cause, and his

incriminating statements should therefore be suppressed as the fruit of the poisonous tree. D.E.

114 at 11-12, 16. In the alternative, Sydnor argues that the two statements were made during

custodial interrogation, in violation of Miranda v. Arizona, 384 U.S. 436 (1966). Id. at 12-16.

Sydnor also seeks to suppress certain witness identifications, arguing that they were unduly

suggestive because they were based solely on his driver’s license photo. Id. at 17-21.



                                                1
Case: 6:16-cr-00021-DCR-CJS           Doc #: 130 Filed: 12/09/16         Page: 2 of 26 - Page
                                          ID#: 860



       The Court finds that Sydnor was not placed under formal arrest when officers handcuffed

him at the beginning of the search. However, Sydnor was in custody for purposes of Miranda

during the search.     Regarding the statements themselves, the first one was an unsolicited

voluntary utterance outside the scope of Miranda. In contrast, the second statement was elicited

by a direct question whose answer could only reasonably be incriminating. The Court will

recommend that Sydnor’s motion to suppress be granted only in regard to the second statement.

Concerning the witness identifications, the Court will recommend that the motion to suppress be

denied. The government has met its burden of showing that the identifications were reliable.

                                        I. Background

       The facts surrounding the execution of the search warrant and Sydnor’s confession are

contained in the Affidavit of Complaint (D.E. 1-1, 7/11/2016, Affidavit of Raleigh Benge as to

Maurice Sydnor), the Kentucky State Police report (D.E. 65-1), the ATF case reports (D.E. 65-2,

-3), the transcript of the evidentiary hearing (D.E. 103), Sydnor’s memorandum in support of his

motion (D.E. 114), and the government’s response (D.E. 119). The witness identifications will

be discussed in a later section.

       Law Enforcement was using a confidential informant (“CI”) to investigate suspected drug

dealer Timothy Harris. D.E. 103 at 11. At one point, law enforcement sent the CI to meet Harris

at the residence of Harris’s associate “Black,” who was later determined to be Sydnor. Id. at 12-

13. After the CI drove to the residence in a car monitored by law enforcement, Harris and

Sydnor arrived in another vehicle. Harris got into the passenger seat of the CI’s vehicle. Sydnor

went inside the residence and returned with a brown bag that he passed to Harris. Harris told the

CI to drive to another location. Id. at 13-14; D.E. 65-1 at 2-3. On the way, Harris forced the CI

to stop the vehicle and get out. Harris left in the CI’s car. Using the tracking device that was


                                               2
Case: 6:16-cr-00021-DCR-CJS            Doc #: 130 Filed: 12/09/16          Page: 3 of 26 - Page
                                           ID#: 861



installed in the CI’s car, law enforcement caught up with Harris and pulled him over. D.E. 65-1

at 2-3; D.E. 65-3 at 1-2, 8-9. They found almost three pounds of crystal methamphetamine in the

brown bag. D.E. 1-1 at 4; D.E. 65-3 at 7; D.E. 103 at 14.

        An officer involved in Harris’s traffic stop then contacted Detective Walker for assistance

in obtaining a search warrant for the residence where the CI met Harris and “Black.” D.E. 103 at

14. Using information from the CI, Det. Walker (who had not previously been involved in the

case), obtained and executed a search warrant for the residence, which turned out to be Sydnor’s.

Id. at 14-15. The warrant authorized a search for, among other things, controlled substances and

firearms. D.E. 119-1.

        The warrant was executed around 2:45 a.m. D.E. 103 at 18, 60. According to reports,

officers forced their way inside after Sydnor failed to respond to knocks and loud verbal

commands. D.E. 65-1 at 4; see also D.E. 103 at 27-28. There was a “strong odor of freshly

burnt marijuana” inside the residence. D.E. 65-1 at 4. The report by the Kentucky State Police

contains the following account, with the statements Sydnor seeks to suppress rendered in bold

type:

                A male individual emerged from the second floor of the residence who
        was later identified as Maurice SYDNOR, AKA “Black.” SYDNOR had no shirt
        or shoes on and stated that he stays at the residence and stated that his girlfriend
        and child weren’t present.
                Investigators proceeded throughout the residence checking for additional
        occupants which yielded negative results. SYDNOR wasn’t under arrest, but was
        placed in handcuffs for officer safety and SYDNOR was told he wasn’t under
        arrest. Det. Walker informed SYDNOR the basis of the search warrant and he
        wasn’t under arrest and SYDNOR voluntary stated that he didn’t know what
        was inside the bag that he handed to HARRIS earlier in the day. SYDNOR
        stated that HARRIS is his cousin.
                Det. Walker was sitting with SYDNOR on the couch in the living room
        and SYDNOR heard one investigator tell another investigator that a camera was
        needed upstairs in the bedroom. Investigator’s note: Two rifles were discovered
        inside a closet located in master bedroom. The rifles were inside a rifle case.


                                                 3
Case: 6:16-cr-00021-DCR-CJS            Doc #: 130 Filed: 12/09/16          Page: 4 of 26 - Page
                                           ID#: 862



       They were photographed for future reference and seized. See item # 1,2,3.
               SYDNOR asked if he can put on his shoes before he goes to jail. Det.
       Walker stated, “why would you be going to jail.” At this point SYDNOR stated
       that he was a convicted felon and the rifles are his for protection of his
       family. Det. Walker and Det. Browning inquired with SYDNOR if he wanted to
       assist with the ongoing investigation relating to HARRIS and Somerset, Ky., and
       he declined, and shortly afterwards was formerly charged with possession of
       firearm by convicted felon and transported to Jefferson County Jail.

D.E. 65-1 at 4-5.

       At the evidentiary hearing, KSP Detective Jason Browning testified that he attended the

search of Sydnor’s residence. D.E. 103 at 9. When he went inside, he saw Sydnor on the floor

being handcuffed. Id. at 10. Det. Browning testified that there was no arrest warrant for Sydnor,

and that he knew of no probable cause to arrest him at the time the warrant was executed. Id. at

10, 20, 21.

       Det. Browning testified that there were six other officers involved in the search. Id. at 17.

Det. Browning saw Sydnor and Det. Walker sitting on a couch in Sydnor’s living room during

the search. Id. at 16. Det. Browning said he heard Sydnor say he did not know what was in the

bag he passed to Harris. Id. at 18-19. At the time, Det. Walker was explaining to Sydnor the

search warrant, which was on the table in front of Sydnor. Id. Det. Browning did not hear Det.

Walker ask any question about the bag. Id. at 19-20. When the rifles were discovered in

Sydnor’s bedroom, Det. Browning went upstairs and saw them.               Id.   When he returned

downstairs, he asked Sydnor if he was willing to cooperate. Sydnor was not. Id. Det. Browning

did not hear Sydnor’s statement about putting on his shoes before going to jail. Id. at 34-35.

       Det. Walker also testified concerning the search. He said that when the officers entered

the residence and Sydnor came downstairs, he ordered Sydnor to the floor. Sydnor complied,

and was handcuffed behind his back. Then, the handcuffs were moved to Sydnor’s front and



                                                4
Case: 6:16-cr-00021-DCR-CJS            Doc #: 130 Filed: 12/09/16          Page: 5 of 26 - Page
                                           ID#: 863



Sydnor sat on the sofa. D.E. 103 at 48-50. Det. Walker explained that handcuffing the occupant

is “normal protocol” during the execution of a search warrant. It is done, he said, for safety,

because there may be hidden dangerous instruments. Id. at 65.

       Once Sydnor was on the sofa, Det. Walker explained the basis of the search warrant.

D.E. 103 at 50-52. Although Det. Walker did not administer Miranda warnings, he did tell

Sydnor that he was not under arrest. Id. at 50, 67. Det. Walker testified that Sydnor was free to

leave during their discussion, although Sydnor was not told he was free to leave. Id. at 50.

While explaining the probable-cause basis of the search warrant, Det. Walker told Sydnor about

how they believed he had brought the bag of methamphetamine to Harris in the CI’s car. Sydnor

then volunteered that he did not know what was in the bag. Id. at 51-52. Det. Walker testified

that the discussion did not involve any psychological ploys to elicit a confession. Id. at 52. He

was merely explaining why the officers were there. Id. Det. Walker testified he always explains

the probable cause basis to targets of a search warrant. He testified that he largely does this “to

put them at ease.” Id. at 52, 54. Det. Walker never drew his gun. Id. at 55. During the search,

his job was “just sitting with Mr. Sydnor as a babysitter” while the other officers searched. Id. at

56.

       Eventually, while Det. Walker and Sydnor sat in the living room, an officer upstairs

called for a camera. Id. at 57. Sydnor then asked if he could put on his shoes before he went to

jail. Det. Walker asked, “Why would you be going to jail?” Det. Walker testified, “Then that’s

when he stated that the rifles are his, and he’s a convicted felon.” Id. Det. Walker asked Sydnor

if he wanted to cooperate in the investigation, and Sydnor replied that he did not. Id. at 59.

According to Det. Walker, the search lasted from 2:45 a.m. to 4:00 a.m. Id. at 60-61. Det.

Walker was not aware of anyone giving Miranda warnings to Sydnor that day. Id. at 50, 67.


                                                 5
Case: 6:16-cr-00021-DCR-CJS            Doc #: 130 Filed: 12/09/16         Page: 6 of 26 - Page
                                           ID#: 864



                                       II. No Illegal Arrest

       Sydnor argues that when he was handcuffed at the beginning of the search, law

enforcement made an illegal arrest without probable cause. D.E. 114 at 10-11. According to

Sydnor, his statements were therefore the “fruit of the poisonous tree” and subject to

suppression. Id at 11-13. He argues:

       Sydnor was placed under arrest as soon as law enforcement entered his home.
       Sydnor was “instructed to come downstairs” immediately when officers first
       made contact with him. [Det.] Walker then commanded Sydnor to “[g]et down
       on the floor.” At that point, Sydnor “was being restrained” while officers
       handcuffed him. Sydnor remained handcuffed from that point forward.
               As a result, no “reasonable person” in Mr. Sydnor’s position would
       believe that he retained any “freedom of action,” much less the ability to
       terminate the encounter and depart. Furthermore, Sydnor was never told that he
       was free to go, nor was he ever provided with Miranda warnings at any point. It
       follows that Sydnor’s immediate, prolonged, and indefinite restraint with
       handcuffs constituted a “formal arrest,” and he was “in custody” the entire time
       officers were executing the search warrant.
               Moreover, Mr. Sydnor’s arrest at this time was unlawful. As Detectives
       Browning and Walker testified, law enforcement did not possess an arrest warrant
       for Sydnor when they entered his home. Instead, both Browning and Walker said
       that they had sufficient evidence to arrest Sydnor only after other officers
       discovered firearms in the bedroom and Sydnor admitted his ownership. It
       follows that Sydnor’s immediate arrest upon law enforcement entry into his home
       was improper.

D.E. 114 at 10-11 (citations omitted). The facts, as Sydnor describes them, are not in dispute.

However, Sydnor’s legal conclusions derived from these facts are flawed. Sydnor was not the

victim of an illegal arrest; his seizure was a permissible temporary detention associated with the

execution of a search warrant.

       “When officers execute a search warrant at a suspect’s home, they enjoy an implicit,

limited authority to detain the occupants at the premises—even with handcuffs—without making

an arrest.” United States v. Wagner, 289 F. App’x 57, 59 (6th Cir. 2008) (citing Muehler v.

Mena, 544 U.S. 93, 98-99 (2005)). As the Supreme Court explained in Mena, such detentions


                                                6
Case: 6:16-cr-00021-DCR-CJS            Doc #: 130 Filed: 12/09/16            Page: 7 of 26 - Page
                                           ID#: 865



are justified by “substantial” interests, including:       “preventing flight in the event that

incriminating evidence is found; minimizing the risk of harm to the officers; and facilitating the

orderly completion of the search, as detainees’ self-interest may induce them to open locked

doors or locked containers to avoid the use of force.” Mena, 544 U.S. at 98 (quoting Michigan v.

Summers, 452 U.S. 692, 702-03 (1981)) (quotation marks omitted). Further,

               Inherent in Summers’ authorization to detain an occupant of the place to
       be searched is the authority to use reasonable force to effectuate the detention. . . .
       Indeed, Summers itself stressed that the risk of harm to officers and occupants is
       minimized ‘if the officers routinely exercise unquestioned command of the
       situation.’”

Id. at 98-99 (quoting Summers, 452 U.S. at 703). The Court also recognized that searches for

weapons and drugs are “inherently dangerous situations” in which suspects sometimes erupt in

“sudden violence or frantic efforts to conceal or destroy evidence.” Id. at 100 (citing Summers,

452 U.S. at 702-03). The Mena Court found that handcuffing a suspect during a search “was

undoubtedly a separate intrusion” beyond the initial seizure and detention of the suspect. Id. at

99. But handcuffs are justified in such “inherently dangerous” searches. Id. at 100. And

detentions under Summers are not arrests. Summers, 452 U.S. at 702; United States v. Binford,

818 F.3d 261, 270 (6th Cir. 2016) (“Because Binford was permissibly detained [in handcuffs]

during the execution of the search warrant, the detention did not amount to an unlawful arrest

without probable cause.”); Wagner, 289 F. App’x at 59; see also United States v. Fountain, 2

F.3d 656, 666 (6th Cir. 1993) (“[T]he use of handcuffs does not necessarily turn an encounter

into an arrest for which probable cause is required.”).

       Sydnor’s detention did not amount to a formal arrest because it fits within the Summers

exception under Mena. Here, the search warrant authorized law enforcement to search Sydnor’s

residence for, among other things, “[c]ontrolled substance[s]” and “[f]irearms and ammunition.”


                                                 7
Case: 6:16-cr-00021-DCR-CJS            Doc #: 130 Filed: 12/09/16        Page: 8 of 26 - Page
                                           ID#: 866



D.E. 119-1 at 5. Officers had reason to believe that “Black” had retrieved a bag from the

residence containing almost three pounds of crystal meth, distribution of which would constitute

a Class A felony, and given it to Harris. Additionally, officers smelled freshly burned marijuana

when they entered Sydnor’s residence, further signaling the presence of drugs and the possibility

that Sydnor could be intoxicated. Finally, officers actually found weapons in the residence. The

detention of Sydnor in handcuffs, accompanied by a reasonable show of force, was a permissible

detention short of arrest under Summers.

       Nor did Sydnor’s detention ripen into being unreasonable or the equivalent of an illegal

arrest. See D.E. 121 at 1-2 (alleging that Sydnor’s detention was impermissible because it was

“prolonged and indefinite”). The Supreme Court has recognized that the duration of a Summers

detention can “affect the balance of interests” in favor of finding that a detention was

unconstitutionally “unreasonable.” Mena, 544 U.S. at 100 (finding that a two- to three-hour

detention in handcuffs was not unreasonable under the circumstances); see also Summers, 452

U.S. at 705 n.21 (noting that “special circumstances, or possibly a prolonged detention, might

lead to a different conclusion in an unusual case”). But Sydnor has not pointed to any case in

which a Summers duration of comparable length was held to be illegal. Nor has he identified a

factual basis for finding the detention unnecessarily exceeded the search of the residence.

Weighed in the light of other cases, Sydnor’s detention was not prolonged and indefinite, but

was properly measured by the search.

       Both parties make arguments from the recent Binford case. See D.E. 119 at 9-10; D.E.

121 at 5 (citing United States v. Binford, 818 F.3d 261 (6th Cir. 2016) (declining to suppress

statements made while a search warrant was being executed)).          On one hand, Binford is

distinguishable because the defendant waived his Miranda rights at the beginning of his


                                               8
Case: 6:16-cr-00021-DCR-CJS            Doc #: 130 Filed: 12/09/16         Page: 9 of 26 - Page
                                           ID#: 867



Summers detention. Binford, 818 F.3d at 265. The interesting wrinkle in Binford is that an

officer took the defendant aside into a bathroom and questioned him. The Court found that the

initial detention was authorized under Summers and the that the officer was permitted to take him

aside in a bathroom for questioning on the basis of reasonable suspicion. The Court held: “[the

officer] had the authority under Summers to detain Binford incident to the search warrant.

Further, because the two controlled purchases of marijuana gave [the officer] reasonable

suspicion of criminal activity, he also had authority to subject Binford to a brief investigatory

detention [and question him in a bathroom].”         Id. at 268.   Sydnor argues that reasonable

suspicion under Binford did not exist in his case because law enforcement could not tie him to

any drug transaction. But this is irrelevant. Sydnor’s situation was a classic detention in

furtherance of a properly issued search warrant under Summers and Mena. Sydnor was never

taken aside for questioning like Binford. It therefore matters not whether law enforcement could

tie Sydnor factually to any drug transactions.

       Because Sydnor was not illegally arrested, his incriminating statements cannot be

suppressed as fruit of the poisonous tree.

                                       III. Miranda Issues

       Alternatively, Sydnor argues that his incriminating statements were obtained in violation

of his Fifth Amendment right against self-incrimination under Miranda v. Arizona, 384 U.S. 436

(1966). D.E. 65 at 2; D.E. 114 at 12-16; D.E. 121 at 8-13. When a suspect is “in custody,”

Miranda requires officers to inform the suspect of certain rights before he can be interrogated.

See Stansbury v. California, 511 U.S. 318, 322 (1994). Absent Miranda warnings, incriminating

statements elicited through custodial interrogation must be suppressed. Oregon v. Elstad, 470

U.S. 298, 317 (1985).       Here, the parties agree no Miranda warning preceded Sydnor’s


                                                 9
Case: 6:16-cr-00021-DCR-CJS           Doc #: 130 Filed: 12/09/16         Page: 10 of 26 - Page
                                           ID#: 868



incriminating statements. So suppression hinges on whether Sydnor was subject to both (1)

custody and (2) interrogation.

                                            A. Custody

       In asserting a Miranda claim, the defendant bears the initial burden of establishing—by a

preponderance of the evidence—that he was in custody. See Colorado v. Connelly, 479 U.S.

157, 169 (1986); United States v. Lawrence, 892 F.2d 80 (6th Cir. 1989) (table); United States v.

Charles, 738 F.2d 686, 692 (5th Cir. 1984); United States v. Solomon, No. 6:13-CR-40-ART-

HAI-5, 2015 WL 5474395, at *9 (E.D. Ky. Sept. 17, 2015); United States v. Adams, No. 6:09-

CR-16-DCR, 2009 WL 2913926, at *5 (E.D. Ky. Sept. 9, 2009). Although the government

argues otherwise, Sydnor has met this burden.

       The question of whether Sydnor was in custody is separate from the previous question of

whether he was arrested when officers first entered his residence. A detention or seizure that is

not an arrest may still be custodial for Miranda purposes if there was a “restraint on freedom of

movement of the degree associated with a formal arrest.”          Stansbury, 511 U.S. at 322.

Answering the custody question requires courts to consider “all of the circumstances” and focus

on the “objective circumstances” of the alleged interrogation. Id. The question is “how a

reasonable person in that position would perceive his or her freedom to leave.” Id. at 325. The

Sixth Circuit considers several guiding factors: “the location of the interview; the length and

manner of questioning; whether the individual possessed unrestrained freedom of movement

during the interview; and whether the individual was told she need not answer the questions.”

United States v. Panak, 552 F.3d 462, 465 (6th Cir. 2009) (citing United States v. Swanson, 341

F.3d 524, 529 (6th Cir. 2003)). Here, the first two factors weigh against custody, but the second

two suggest that Sydnor was in custody. In this case, the extent of Sydnor’s restraint is the most


                                                10
Case: 6:16-cr-00021-DCR-CJS              Doc #: 130 Filed: 12/09/16      Page: 11 of 26 - Page
                                              ID#: 869



significant factor.

        Here, the length of the questioning is not indicative of custody. In Panak, the Sixth

Circuit noted that interviews lasting from 45 minutes to an hour and a half have been found to be

non-custodial. Panak, 552 F.3d at 467; see also United States v. Mahan, 190 F.3d 416, 422

(finding an interview that “lasted only an hour and a half” non-custodial).        Here, officers

occupied Sydnor’s home for an hour and fifteen minutes before he was arrested on state gun

charges.

        What about the “manner” of questioning? The officers were not overbearing or hostile in

this case. According to the officers, Sydnor was asked no questions at all until he requested to

put on his shoes before he went to jail. At that point, Det. Walker asked why he would be going

to jail. Later, both Det. Walker and Det. Browning asked Sydnor if he was willing to cooperate.

So, one aspect of the “manner” of questioning was that officers asked no questions until Sydnor

asked one himself. However, another aspect of the “manner” of the questioning was that Sydnor

was never given anything close to a Miranda warning during the entire hour-and-fifteen-minute

search, despite the fact that he was clearly a target of the investigation. In total, however, the

manner of questioning does not tilt the scales in favor of custody.

        The location of the questioning is also not suggestive of police custody. The Court of

Appeals in Panak noted that one’s home is his “castle,” and that police encounters in a person’s

residence will often “not rise to the kind of custodial situation that necessitates Miranda

warnings.” Panak, 552 F.3d at 465-66 (quoting United States v. Salvo, 133 F.3d 943, 950 (6th

Cir. 1988)). But there are exceptions.

        Even when an interrogation takes place in the familiar surroundings of a home, it
        still may become custodial without the officer having to place handcuffs on the
        individual. The number of officers, the show of authority, the conspicuous


                                                11
Case: 6:16-cr-00021-DCR-CJS           Doc #: 130 Filed: 12/09/16          Page: 12 of 26 - Page
                                           ID#: 870



       display of drawn weapons, the nature of the questioning all may transform one’s
       castle into an interrogation cell—turning an inherently comfortable and familiar
       environment into one that a reasonable person would perceive as unduly hostile,
       coercive and freedom-restraining.

Id. at 466 (citations omitted). For reasons that will soon be explained, this encounter crossed the

line, despite occurring in Sydnor’s own home.

       Another factor is whether the suspect was told he “need not answer the questions.” Id. at

465. Here, Sydnor was never asked any questions until he made his own comment about the

shoes. But, after that point, he was questioned. No evidence suggests he was informed that he

did not have to answer questions. This factor is suggestive of custody.

       The remaining factor is “whether the individual possessed unrestrained freedom of

movement during the interview.” Id. at 465. The ultimate custody question “is not whether the

individual felt pressure to speak to the officers but whether she was forced to stay with them.”

Id. at 471. Given the total facts of this case, a reasonable person in Sydnor’s circumstances

would not have felt free to leave. Here, six officers forcibly entered his home at 2:45 a.m. When

he came downstairs, Sydnor was ordered to the ground and handcuffed behind his back. After

officers conducted an initial safety sweep, Sydnor’s handcuffs were moved to the front and he

was “placed on the couch.” D.E. 103 at 54. Sydnor remained handcuffed throughout the entire

relevant time period. Det. Walker told Sydnor he was not under arrest, but never told him he

was free to go. Id. at 50.

       Once he was on the couch, Det. Walker told Sydnor “that he was observed taking a bag

out to a car that—that was later discovered to have crystal meth in that bag.” Id. at 51. Although

Det. Walker testified that he routinely explained the probable cause underlying a search warrant

to “calm [the suspect’s] nerves,” he acknowledged that in doing so, he had “implicated [Sydnor]



                                                12
Case: 6:16-cr-00021-DCR-CJS           Doc #: 130 Filed: 12/09/16          Page: 13 of 26 - Page
                                           ID#: 871



in a crime.” Id. at 51-52.

       This set of facts is more similar to those appearing in cases where custody was found than

the opposite. Several details are indicative of custody. The first is the use of handcuffs.

Although the use of handcuffs is not dispositive in favor of finding custody, it is an important

factor. For example, the Court in Panak noted that a home interview “may become custodial

without the officer having to place handcuffs on the individual,” a statement which suggests that

the use of handcuffs favors a finding of custody. Panak, 552 F.3d at 466; see also United States

v. Hinojosa, 606 F.3d 875, 883 (6th Cir. 2010) (finding no custody when “[t]he officers did not

place Defendant in handcuffs or otherwise restrain his freedom”); United States v. Brooks, 379 F.

App’x 465, 473 (6th Cir. 2010) (finding no custody when “no show of force was made, such as

the use of handcuffs or the brandishing of a firearm”); United States v. Flores, 193 F. App’x 597,

606 (6th Cir. 2006) (finding no custody when Defendant “was not handcuffed, confined, or

restrained” as he sat on his living room sofa); United States v. White, 270 F.3d 356, 366 (6th Cir.

2001) (finding that an in-home interview was not custodial when Defendant “had complete

freedom of movement” and “was not handcuffed or physically restrained”). The Sixth Circuit

has categorized handcuffs as “equipment ordinarily associated with formal arrest or custody” and

an “item[] associated with force or coercion.” Mahan, 190 F.3d at 422-23; see also Brooks, 379

F. App’x at 473 (describing the use of handcuffs as a “show of force”); United States v. Mullins,

No. 7:11-CR-04-ART-EBA, 2011 WL 1327030, at *3 (E.D. Ky. Mar. 21, 2011) (noting

repeatedly the use of handcuffs during a custodial interview), report and recommendation

adopted, 2011 WL 1303321 (E.D. Ky. Apr. 6, 2011). In Panak, the Court noted that “the

officers did not handcuff Panak or physically restrain her,” a factor that weighed against custody.

Panak, 552 F.3d at 467.      Further, the investigators in Panak “did not possess, much less


                                                13
Case: 6:16-cr-00021-DCR-CJS           Doc #: 130 Filed: 12/09/16           Page: 14 of 26 - Page
                                           ID#: 872



brandish, firearms or handcuffs.” Id. In Sydnor’s case, in contrast, the officers were armed

(D.E. 103 at 16, 55), and Sydnor was handcuffed immediately and remained handcuffed

throughout the search of his home. Not only was he handcuffed, he was initially handcuffed on

the floor with his hands behind his back. D.E. 103 at 48-50. The fact that Sydnor was constantly

physically restrained weighs in favor of finding that he was in custody.

       Another relevant detail is the fact that Sydnor was never told he was free to leave. D.E.

103 at 50. In close cases, “the existence of such advice might affect the outcome.” Panak, 522

F.3d at 468. Informing a suspect that he may end an interview at will is not a necessary

condition to finding no custody, but it is a “frequently sufficient condition.” Id. at 467 (noting

that Panak was never told that she was a suspect). Sydnor was told he was not under arrest, but

was not advised that he was free to leave. Although the weight of this factor is reduced by the

fact Sydnor was told he was not under arrest, the factor does weigh in favor of custody. United

States v. Levenderis, 806 F.3d 390, 401 (6th Cir. 2015). On a related note, although the time of

day is not an explicit factor in this analysis, Det. Walker acknowledged that Sydnor might not

have had anywhere else to go at 3:00 in the morning. As the transcript memorializes:

       Det. Walker: Basically he was told to come downstairs, and he complied, and he
             was ordered down to the—to the floor.

       Q.      And he complied with what you asked him to do, when you said, “Get
               down on the floor?”

       A.      Yes.

       Q.      Words to that effect. And then you handcuffed him?

       A.      That’s correct.

       Q.      Did you Mirandize him after you handcuffed him?

       A.      No, I did not. I also told him he wasn’t under arrest; we were here for a


                                                14
Case: 6:16-cr-00021-DCR-CJS            Doc #: 130 Filed: 12/09/16         Page: 15 of 26 - Page
                                            ID#: 873



               search warrant.

       Q.      Was he free to go after you cuffed him?

       A.      If he wanted to, yes, which it was his residence and 3:00 in the morning,
               so I’m not certain where I would tell him he was free to go to.

       Q.      So . . . you didn’t tell him he was free to go, did you?

       A.      No.

D.E. 103 at 49-50. This detail leans in favor of custody.

       A third important detail is that Detective Walker had implicated Sydnor in a serious

crime. The Court in Panak explained:

       An investigator’s knowledge of an individual’s guilt “may bear upon the custody
       issue” not simply because the officer possesses incriminating evidence but
       because he has “conveyed [it], by word or deed, to the individual being
       questioned,” . . . and thus has used the information to create a hostile, coercive,
       freedom-inhibiting atmosphere. That is why such knowledge is relevant only if
       (1) it was “somehow manifested to the individual under interrogation” and (2) it
       “would have affected how a reasonable person in that position would perceive his
       or her freedom to leave.”

Panak, 552 F.3d at 469 (quoting Stansbury v. California, 511 U.S. 318, 325 (1994)). Here, Det.

Walker conveyed his belief that Sydnor had passed a bag of crystal meth to Harris. D.E. 103 at

51, 56. Det. Walker “manifested” and “conveyed” his knowledge of Sydnor’s guilt. That

knowledge would reasonably affect one’s perception of freedom to leave. Under the standards

of Stansbury, Det. Walker’s insinuation of serious criminal activity created a “freedom-inhibiting

atmosphere.”

       Given these circumstances, a reasonable person would not have felt “at liberty to

terminate the interrogation and leave.” Mahan, 190 F.3d at 421 (quoting Thompson v. Keohane,

516 U.S. 99, 112 (1995)). Although officers may have told Sydnor he was not under arrest, their

other actions and words communicated that he was expected to stay put while they executed the


                                                 15
Case: 6:16-cr-00021-DCR-CJS           Doc #: 130 Filed: 12/09/16          Page: 16 of 26 - Page
                                           ID#: 874



search warrant. Because he was in custody, suppression now turns on whether Sydnor’s two

statements to Det. Walker were the result of “express questioning or its functional equivalent.”

McKinney v. Hoffner, 830 F.3d 363, 371 (6th Cir. 2016).

                          B. Sydnor’s Statement About the Bag of Meth

        The first statement that Sydnor challenges was not obtained through express questioning

or its functional equivalent. Sydnor is not arguing that Det. Walker asked him any question

about the bag he handed to Harris. Instead, Sydnor argues that Det. Walker’s explanation of the

search warrant included “words or actions on the part of the police (other than those normally

attendant to arrest and custody) that the police should know are reasonably likely to elicit an

incriminating response.” D.E. 114 at 13 (quoting Rhode Island v. Innis, 446 U.S. 291, 300

(1980)). Sydnor argues:

               Here, the record establishes that Detective Walker arrested Mr. Sydnor
        and then explained in great detail “how [officers] got to the residence, why [they]
        were there, explain[ed] about Mr. Harris being arrested, and that [Sydnor] was
        seen coming from the residence with the bag….” [R. 103: Transcript,
        Suppression Hearing, Page 18, Lines 14-18]. Moreover, both detectives agreed
        that Sydnor made the incriminating statement only after Walker had “implicated
        him in a crime.” Id. at Page 31, Lines 13-22.

Id. at 13-14.     Sydnor argues that providing specific details about the investigation that

effectively “accused him of participating in [Harris’s drug trafficking] crime” constituted a

“psychological ploy[]” that was the functional equivalent of direct questioning. Id. at 14-15. But

this is not so.

        Sydnor’s statement about the bag was the sort of “volunteered statement” not protected

by Miranda. United States v. McConer, 530 F.3d 484, 495 (6th Cir. 2008). Interrogation “must

reflect a measure of compulsion above and beyond that inherent in custody itself.” Rhode Island

v. Innis, 446 U.S. 291, 300 (1980). Sydnor was not subjected to such compulsion before his


                                                16
Case: 6:16-cr-00021-DCR-CJS           Doc #: 130 Filed: 12/09/16         Page: 17 of 26 - Page
                                           ID#: 875



statement about the bag.

       Courts have frequently admitted incriminating statements that followed an officer’s mere

description of a defendant’s suspected criminal activity.      The general rule is that “mere

declaratory descriptions of incriminating evidence do not invariably constitute interrogation for

Miranda purposes.” United States v. Payne, 954 F.2d 199, 202 (4th Cir. 1992). “Indeed, it may

even be in the interest of a defendant to be kept informed about matters relating to the charges

against him.” Id. In Payne, for example, an officer told a suspect, “They found a gun at your

house.” The suspect’s reply, “I just had it for my protection,” was admissible. Id. at 201. The

Supreme Court’s definition of interrogation, the Court explained, “is not so broad as to capture

within Miranda’s reach all declaratory statements by police officers concerning the nature of the

charges against the suspect and the evidence relating to those charges.” Id. at 202 (collecting

cases); see also United States v. Hurst, 228 F.3d 751, 759 (6th Cir. 2000) (finding that the

statement, “we’ve got good information on you,” was not an interrogation); Cort v. Parke, 875

F.2d 863 (6th Cir. 1989) (finding no interrogation when an officer told a suspect, “Look, you just

stabbed a young man up [the] street, up here, and he’s probably going to die”) (per curiam).

       To provide another example, Sydnor’s statement is like one that was found to be

admissible in Mullins. In that case, a narcotics agent told a handcuffed defendant that he knew a

package he had just picked up contained oxycodone. United States v. Mullins, No. 7:11-CR-4-

ART-EBA, 2011 WL 1327030, at *1 (E.D. Ky. Mar. 21, 2011), report and recommendation

adopted, 2011 WL 1303321 (E.D. Ky. Apr. 6, 2011). Immediately after the agent “identified

himself and explained the circumstances,” the defendant “blurted out” that he was expecting

hydrocodone instead. Id. The Court explained that informing a defendant of facts of the




                                               17
Case: 6:16-cr-00021-DCR-CJS                 Doc #: 130 Filed: 12/09/16                Page: 18 of 26 - Page
                                                 ID#: 876



investigation was not an action “reasonably likely to elicit an incriminating response.” Id. at *3. 1

        Here, Det. Browning testified that “explaining the search warrant,” as Det. Walker did,

“is what I normally do” to explain to the resident “why we were there.” DE. 103 at 32. And

Det. Walker testified that “usually when I execute a search warrant, I always tell the occupants

. . . what the probable cause is to try to ease their—calm their nerves.” Id. at 52. He had been

doing this as a matter of practice for twenty years. Id. at 54. In this case, explaining the

probable cause underlying the search warrant was not the functional equivalent of direct

questioning. Accordingly, Sydnor’s statement about the bag was not a response to interrogation

and should not be suppressed.

                                C. Sydnor’s Statement About the Firearms

        According to Det. Walker’s testimony, during the search of Sydnor’s residence,

        It came to a point where someone upstairs yelled out for a camera. And at that
        time, Mr. Sydnor stated that, “Can I put my shoes on before I go to jail?” Then I
        followed up. I stated, “Why would you be going to jail?” Then that’s when he
        stated that the rifles are his, and he’s a convicted felon.

D.E. 103 at 57.        The question now is whether “Why would you be going to jail” was

interrogation or its functional equivalent.           Under the Supreme Court’s definition in Innes,

interrogation “refers not only to express questioning, but also to any words or actions on the part


1
  Sydnor cites the Shaneberger case for the proposition that “the Sixth Circuit has recognized that ‘informing the
accused that he ha[s] been implicated in a crime by a co-defendant constitutes interrogation under the Innis
definition.’” D.E. 114 at 14 (quoting Shaneberger v. Jones, 615 F.3d 448, 453 (6th Cir. 2010)). Sydnor may be
suggesting that by explaining the probable cause underlying the search warrant, Det. Walker effectively told Sydnor
he had been accused of drug trafficking by the CI. Assuming this equivalence is correct, what the Shaneberger
Court said was that “two Circuits have concluded that informing the accused that he had been implicated in a
crime by a co-defendant constitutes interrogation under the Innis definition.” Id. (emphasis added). The Court in
Shaneberger did not adopt such a rule. Instead, it declined to find error under AEDPA concerning an ineffective
assistance of counsel claim concerning a motion to suppress when an officer had told the suspect that a codefendant
had implicated him in a deadly robbery. Id. at 453-54. At the time this statement was made, the defendant was at
the police department being interviewed about an unrelated crime and had invoked his right to counsel. Id. at 451.
The Court found it a “close question” whether the report about the codefendant was the functional equivalent of
interrogation. Id. at 454. Shaneberger is too dissimilar to Sydnor’s case to guide the analysis of interrogation.


                                                        18
Case: 6:16-cr-00021-DCR-CJS             Doc #: 130 Filed: 12/09/16         Page: 19 of 26 - Page
                                             ID#: 877



of the police (other than those normally attendant to arrest and custody) that the police should

know are reasonably likely to elicit an incriminating response from the suspect.” Innis, 446 U.S.

at 301.

          In this case, the question, “Why would you be going to jail” is both a direct question and

a question that police should know would be reasonably likely to elicit an incriminating

response. What sort of non-incriminating response could Sydnor have possibly given to this

question? Sydnor indicated he believed he was going to jail. The follow-up question by Det.

Walker asked to explain why he thought that was the case. Essentially, Det. Walker asked, “tell

me what crime you think you committed.”

          The Woods case presents a useful comparison. In that case, an officer was patting down a

suspect he had just arrested. The officer felt a lump in the suspect’s pocket and asked, “What is

in your pocket?” The suspect then confessed to having a gun in his car. The object in his pocket

was actually his keys. United States v. Woods, 711 F.3d 737, 739 (6th Cir. 2013). The Court

noted first that the question was a natural and automatic part of a normal arrest. Id. at 741. The

Court then noted that the answer to the question “could have been either innocuous or

incriminating.” Id. The facts are different here. “Why would you be going to jail” is vastly

different from “What is in your pocket.” In Sydnor’s case, the only reasonably likely and

responsive answer would be incriminating.

          The government’s position is that Det. Walker’s question was a clarifying question in

response to Sydnor’s voluntary, unsolicited statement about putting on his shoes. See D.E. 119

at 20. Det. Walker testified that Sydnor was not under arrest and that he did not believe he had

probable cause to arrest him. Id. at 19 (citing D.E. 103 at 50, 64). According to the government,

“If Sydnor believed he was going to jail and Walker didn’t, the need for clarification is evident.”


                                                 19
Case: 6:16-cr-00021-DCR-CJS           Doc #: 130 Filed: 12/09/16          Page: 20 of 26 - Page
                                           ID#: 878



Id. The government relies on Tolliver, in which, according to the government’s brief,

       the defendant made a spontaneous statement about “getting the other gun out.”
       Id. at 921. The officer responded by asking “is there more than one gun in the
       apartment?” Id. The Sixth Circuit found that officer’s question did not constitute
       an interrogation because the officer was simply following up on information that
       had been volunteered[.]

D.E. 119 at 20 (quoting Tolliver v. Sheets, 594 F.3d 900, 921 (6th Cir. 2010)).

       The Court in Tolliver provided the following guidelines:

               The line between impermissible interrogation and permissible follow-up
       questions to volunteered statements is a fine one. Police may listen to volunteered
       statements, and need not interrupt a suspect who is volunteering information in
       order to deliver a Miranda warning. See Miranda, 384 U.S. at 478, 86 S. Ct.
       1602. Police may even interrupt a volunteered statement to ask clarifying or
       follow-up questions. See, e.g., U.S. v. Rommy, 506 F.3d 108, 132-33 (2d Cir.
       2007) (collecting cases); Andersen v. Thieret, 903 F.2d 526, 532 (7th Cir. 1990)
       (rejecting custodial interrogation challenge when, in response to suspect's
       volunteered statement, “I stabbed her,” police asked, “Who?”). That said, when
       asking a suspect about volunteered information, police may at times cross the line
       from asking clarifying or follow-up questions into the “express questioning or its
       functional equivalent,” Innis, 446 U.S. at 300–01, 100 S .Ct. 1682, barred by
       Miranda. See, e.g., United States v. Crowder, 62 F.3d 782, 785-86 (6th Cir.
       1995) (holding that police officer interrogated suspect when, after suspect stated
       that shotgun was “in the wood,” officer asked clarifying question about
       location). . . . Again, as the Supreme Court has made clear repeatedly, “[w]ithout
       obtaining a waiver of the suspect’s Miranda rights, the police may not ask
       questions . . . that are designed to elicit incriminatory admissions.” Muniz, 496
       U.S. at 602 n. 14, 110 S. Ct. 2638. The difference between permissible follow-up
       questions and impermissible interrogation clearly turns on whether the police are
       seeking clarification of something that the suspect has just said, or whether
       instead the police are seeking to expand the interview. See, e.g., Wayne R.
       LaFave et al., 2 Criminal Procedure § 6.7(a), at 567 (2d ed. 1999) (“the part of
       defendant’s statement given after the follow-up questions is volunteered only if
       the questions are neutral efforts to clarify what has already been said rather than
       apparent attempts to expand the scope of the statement previously made.”).

Tolliver, 594 F.3d at 920-21.

       “When police ask questions of a suspect in custody without administering the required

warnings, Miranda dictates that the answers received be presumed compelled and that they be



                                                20
Case: 6:16-cr-00021-DCR-CJS             Doc #: 130 Filed: 12/09/16       Page: 21 of 26 - Page
                                             ID#: 879



excluded from evidence at trial in the government’s case in chief.” United States v. Sangineto-

Miranda, 859 F.2d 1501, 1515-16 (6th Cir. 1988) (quoting Oregon v. Elstad, 470 U.S. 298, 317

(1985)) (emphasis added). Especially in light the presumption in favor of exclusion, the facts of

this case weigh in favor of finding a Miranda violation.

        Applying Tolliver’s guidelines, because a reasonably likely responsive answer to the

question could only have been incriminating, the question could not fairly be described as a

“neutral effort to clarify what has already been said.” See Tolliver, 594 F.3d at 921. Det.

Walker could have responded with a number of neutral statements. But instead, he asked a

question that certainly expanded the scope of the conversation. Previously, the conversation

related solely to the drug investigation. However, Det. Walker’s question could not have been

broader in scope. He asked Sydnor to describe any potential crime that Sydnor thought could

result in an arrest.

        Sydnor’s situation is also distinguishable from the facts in Tolliver. The defendant in

Tolliver “volunteered information about ‘getting the other gun out.’” Tolliver, 594 F.3d at 921.

This statement clearly implied that the defendant possessed another gun. The officer’s follow-up

question, which was essentially “is there more than one gun in the apartment,” was deemed not

to be an interrogation. Id. In Tolliver’s case, the defendant made a specific claim (about the

number of guns in the apartment), which the officer simply sought to verify.            Sydnor’s

volunteered statement was much vaguer. He did not make a specific claim about committing a

specific crime. He indicated broadly a belief that he was going to jail. Det. Walker did not

simply reflect the information back to Sydnor.        He asked a question that sought greater

specificity in a context wherein greater specificity could only reasonably have provided

additional incriminating information.


                                               21
Case: 6:16-cr-00021-DCR-CJS                 Doc #: 130 Filed: 12/09/16                Page: 22 of 26 - Page
                                                 ID#: 880



        Because the test is an objective one to be applied from the suspect’s point-of-view, Det.

Walker’s motivation for asking the question is not particularly relevant. 2 Instead, looking to the

totality of the circumstances, the government has not overcome the presumption that Sydnor’s

statement—solicited by a direct question—was given in violation of Miranda. The question was

not neutral.     It expanded the interview, and the answer could reasonably only have been

incriminating. It was like the question discussed in Tolliver (citing Crowder, 62 F.3d at 785-86),

in which the suspect stated the shotgun was “in the wood,” and the officer asked “where.” Like

that question, Det. Walker’s question was reasonably likely to elicit an incriminating response.

It was an interrogation, and Sydnor’s answer should be suppressed.

                                          IV. Identification Issues

        Finally, Sydnor argues that certain identifications of him should be suppressed. Several

witnesses identified Sydnor based on his driver’s license photo, which was displayed by itself,

not in a photographic lineup.           The Supreme Court has held that due process requires the

suppression of identifications when the procedure “was so impermissibly suggestive as to give

rise to a very substantial likelihood of irreparable misidentification.” Simmons v. United States,

390 U.S. 377, 384 (1968). However, to exclude such identifications, a defendant must show

both that the identification procedure was unduly suggestive and that the identifications were not

otherwise reliable. Neil v. Biggers, 409 U.S. 188, 199-200 (1972).

        Here, the government concedes that using a single photograph is a suggestive

identification procedure. D.E. 119 at 22. The case then turns on reliability, which is assessed



2
  When questioned why he asked the follow-up question, Det. Walker stated, “because I didn’t—I mean, at that
point, I knew there was no drugs discovered in the residence up to that point. So when he said that he was going to
jail, I was trying to figure out why does he think he’s going to jail.” D.E. 103 at 59.



                                                        22
Case: 6:16-cr-00021-DCR-CJS                 Doc #: 130 Filed: 12/09/16                Page: 23 of 26 - Page
                                                 ID#: 881



using a number of factors: “the opportunity of the witness to view the criminal at the time of the

crime, the witness’ degree of attention, the accuracy of the witness’ prior description of the

criminal, the level of certainty demonstrated by the witness at the confrontation, and the length

of time between the crime and the confrontation.” Neil, 409 U.S. at 199-200.

        Sydnor places “three witness identifications at issue.” 3 D.E. 114 at 18. The first was

made by Cathy Jose. Det. Browning testified that he interviewed Jose on July 8, 2016, which

was one month after Sydnor’s June 9 arrest on the state gun charge. D.E. 103 at 23. According

to Det. Browning’s testimony, Jose had met Sydnor at least twenty times. Id. at 24. She had

seen him as recently as June 30. Id. at 26. She said their meetings “always involved narcotics,”

and she believed Sydnor to be Harris’s supplier. Id. at 25. Among these meetings, Jose had been

with Harris in Louisville five times and seen Sydnor there. Id. Jose was “personally present”

and “involved in each of these drug transactions.” Id. When shown Sydnor’s picture, Jose gave

no hesitation in identifying him. Id. at 26. With regard to Jose, the factors tip decisively in favor

of reliability. She had numerous opportunities to see Sydnor. She was a participant in drug

transactions, not just a passerby. She was confident in her identification, and she had seen him

recently.

        Next, Sydnor challenges the identification by codefendant Paul Dupree. D.E. 114 at 18.

After Dupree was arrested on June 30, 2016, S.A. Tremaine showed him Sydnor’s driver’s

license picture. Dupree identified the person in the picture as “Black,” a man he knew and “had

dealings with.” D.E. 103 at 41; see also D.E. 65-2 at 4 ¶ 26. According to S.A. Tremaine’s



3
  In his original motion to suppress, Sydnor indicated he would challenge the identifications made by the CI and by
Paul Dupree. D.E. 65 at 5. In his post-hearing memorandum, however, Sydnor raises no argument challenging the
CI’s photo identification. The Court considers any argument against the CI’s identification waived. In any event,
the CI’s identification was reliable for the reasons explained in the government’s memorandum, D.E. 119 at 22-23.


                                                        23
Case: 6:16-cr-00021-DCR-CJS           Doc #: 130 Filed: 12/09/16           Page: 24 of 26 - Page
                                           ID#: 882



testimony, Dupree said “he’d had numerous transactions with Sydnor in Louisville to pick up

both heroin and methamphetamine.” D.E. 103 at 42. S.A. Tremaine clarified that it had been

“around ten” transactions,” mostly in May and June of 2016. Id. at 42-43. In these transactions,

Dupree would give money to Harris, who would tell Dupree where to meet “Black” to pick up

the drugs. Id. at 43. Dupree identified Sydnor without hesitation. Id. at 44. Here again, the

factors tip decisively in favor of reliability. Dupree was a recent, repeated customer of Harris

and “Black,” who had seen Sydnor recently and interacted personally with him around ten times.

       Finally, Sydnor challenges the identification by Chelsea Sexton. D.E. 114 at 19. S.A.

Tremaine interviewed Sexton somewhat later, on July 27, 2016. D.E. 103 at 44. Sexton told

S.A. Tremaine that

       she had met Black a couple of times. She described Black as somebody that
       reminded her of the musical artist Lil’ Wayne. She described Black as being a
       black male that is short with a dreadlock hairstyle and multiple tattoos. She says
       that she thinks Black is approximately 30 years old. And at that point, I showed
       Ms. Sexton a photograph of Sydnor . . . She stated that the hair in the picture was
       confusing to her, but she looked at it and she says essentially that that’s him. . . .
       She stated that she went up to the hotel room once or twice to meet Black in
       Louisville. She had seen Black three or four times[.]

Id. at 44-45; see also D.E. 119-2. Dupree also confirmed that Sexton was with him during some

of the drug transactions. D.E. 103 at 45. Although this is a closer call, the facts suggest that

Sexton’s identification was sufficiently reliable. Although the hair in the picture confused her,

Sexton did make a positive identification. Again, she was not just a passerby, but a person who

was present with Sydnor during multiple drug transactions.           Her identification is further

buttressed by the fact that she was able to provide a physical description of “Black” before

viewing the driver’s license photo.       Tellingly, Sydnor has not argued that her physical

description of him is inaccurate.



                                                24
Case: 6:16-cr-00021-DCR-CJS           Doc #: 130 Filed: 12/09/16           Page: 25 of 26 - Page
                                           ID#: 883



       Sydnor also attacks each identification “generally” on the basis that these three witnesses

“were of white ancestry, while he is black.” D.E. 114 at 19. He provides authorities for the

proposition that “cross-racial identifications are less accurate than identifications made by

members of the same race.” Id. Although that may be true as a general matter, Sydnor did not

develop any evidence in this case that suggest these particular identifications were unreliable on

account of cross-racial effects.

       Because the eyewitness identifications were sufficiently reliable, they need not be

suppressed despite the fact that they were based on a single photograph.

                                         V. Conclusion

       For the reasons discussed, the undersigned RECOMMENDS the following concerning

Sydnor’s motion to suppress at Docket Entry 65:

       (1)     That Sydnor’s motion to suppress all his statements on the ground that they were

               fruit of an illegal arrest be DENIED.

       (2)     That Sydnor’s motion to suppress his statement that he did not know what was in

               the bag he handed to Harris be DENIED.

       (3)     That Sydnor’s motion to suppress his answer to the question, “Why would you be

               going to jail,” be GRANTED as obtained in violation of Miranda.

       (4)     That Sydnor’s motion to suppress three eyewitness photo identifications be

               DENIED.

       The Court issues this Recommended Disposition pursuant to 28 U.S.C. § 636(b)(1)(B).

The parties should consult that statute and Federal Rule of Criminal Procedure 59(b) concerning

the right to appeal to the District Judge. Although there is a pending motion to continue (D.E.

125), pursuant to Rule 59(b)(2) and because of the rapidly approaching trial date, any


                                               25
Case: 6:16-cr-00021-DCR-CJS          Doc #: 130 Filed: 12/09/16   Page: 26 of 26 - Page
                                          ID#: 884



objection must be filed on or before Monday, December 19, 2016. Failure to object in

accordance with Rule 59(b) waives a party’s right to review.

       This the 9th day of December, 2016.




                                               26
